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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


LAURIE DHUE,
                                                     Case No.:
                            Plaintiff,

              – against –                            COMPLAINT

                                                     JURY TRIAL DEMANDED
WILLIAM JAMES O’REILLY

                            Defendant.
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       Plaintiff Laurie Dhue (“Dhue” or “Plaintiff”), upon information and belief, and

upon personal knowledge as to her experiences, by and through her attorneys,

Balestriere Fariello and the Carmen D. Caruso Law Firm, alleges as follows:

                             PRELIMINARY STATEMENT

       1.     Defendant William (Bill) James O’Reilly (“O’Reilly”), accused of sexually

harassing women at Fox News Network, LLC (“Fox News”) for years, added to his

misconduct last year by defaming Plaintiff Laurie Dhue (“Dhue”).

       2.     O’Reilly was formerly the host of The O’Reilly Factor on Fox News.

       3.     On April 1, 2017, The New York Times published a piece titled “Bill O’Reilly

Thrives at Fox News, Even as Harassment Settlements Add Up,” which named Plaintiff,

a former Fox News anchor, as a purported recipient of settlement funds.

       4.     Shortly thereafter, on April 19, 2017, Fox News fired O’Reilly. O’Reilly’s

termination came after additional allegations surfaced that O’Reilly, along with Fox

News, had settled numerous claims with Fox News employees after those employees

claimed that they were victims of sexual harassment.

       5.     Following O’Reilly’s departure from Fox News, O’Reilly began a public

smear campaign against the women identified by the news media as those with whom

O’Reilly had allegedly settled prior to his termination.

       6.     As part of his desperate campaign to clear his name, O’Reilly published

false statements about Dhue—as well as the other women—calling her a liar, swearing

that her allegations were fabricated in an effort to obtain a settlement, falsely asserting

that her purported claims against O’Reilly were politically motivated, and lying by


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saying that he only paid settlements to avoid having his family go through litigation,

not because he had engaged in the claimed sexual misconduct.

       7.     O’Reilly ensured that these statements were distributed widely,

attempting to sacrifice the character reputation of Dhue and the other women

mentioned in the April 1, 2017, New York Times article in a blatant attempt to save his

own.

       8.     But O’Reilly lied in each of these statements, and caused Dhue and the

other women further harm to their reputations. Dhue, who still does some work in the

news media, but focuses primarily on her role as an advocate for recovery from drug

and alcohol addiction, relies on her reputation for truthfulness and trustworthiness to

support her career. O’Reilly’s false statements were directed to harm that reputation.

       9.     Further, O’Reilly’s false statements amounted to allegations that Dhue

and the other women had committed the crime of extortion. Each of O’Reilly’s

slanderous statements constitutes defamation per se.

                             JURISDICTION AND VENUE

       10.    This Court has diversity jurisdiction over Plaintiff’s claims pursuant to 28

U.S.C. § 1332(a)(2) as there is complete diversity amongst Plaintiff, who is domiciled in

Georgia, and Defendant, who is domiciled in New York, and the amount in controversy

exceeds $75,000.

       11.    Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(3) as

Defendant is subject to the Court’s personal jurisdiction with respect to this action.




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                                       PARTIES

                                       Plaintiff

      12.    Plaintiff Dhue is an individual who currently lives in Atlanta, Georgia.

Dhue is a professional journalist and advocate for alcohol and substance abuse

recovery.

                                      Defendant

      13.    Defendant William James O’Reilly is a citizen and resident of Manhasset,

in the State of New York.

                              STATEMENT OF FACTS

                                     Background

      14.    Fox News fired O’Reilly on April 19, 2017, after The New York Times

published multiple stories regarding O’Reilly and Fox News settling sexual harassment

claims.

      15.    Dhue worked at Fox News from 2000 to 2008 as an anchor and

correspondent.

      16.    One of the claims that The New York Times reported on was that O’Reilly

settled with Dhue.

      17.    The New York Times reported that Dhue, O’Reilly, and Fox News settled in

2016 for “over $1 million.”

      18.    In a press release following O’Reilly’s April 19, 2017 termination, O’Reilly

stated, “[i]t is tremendously disheartening that we [Fox News and O’Reilly] part ways




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due to completely unfounded claims,” in regards to his firing from Fox News over the

alleged sexual harassment settlements.

                                 The New York Times Story

      19.       On April 1, 2017, The New York Times published an article titled, “Bill

O’Reilly Thrives at Fox News, Even as Harassment Settlements Add Up,” co-authored

by Emily Steel and Michael S. Schmidt (the “April 1 Article”).

      20.       The writers of the April 1 Article purported to have evidence that “a total

of five women [] have received payouts from either Mr. O’Reilly or the company [Fox

News] in exchange for agreeing to not pursue litigation or speak about their accusations

against him.”

      21.       According to the April 1 Article, five women received settlements from

O’Reilly and/or Fox News: Rachel Witlieb Bernstein, Andrea Mackris, Rebecca Gomez

Diamond, Juliet Huddy, and Plaintiff Laurie Dhue.

      22.       In regards to Dhue specifically, the April 1 Article stated Dhue was “a Fox

News anchor from 2000 to 2008,” and “[t]hough Ms. Dhue had not raised sexual

harassment issues during her tenure or upon her departure, her lawyers went to the

company to outline her harassment claims against Mr. O’Reilly and Mr. Ailes.”

      23.       The April 1 Article further claimed that “21st Century Fox reached a

settlement with [Dhue] for over $1 million.”

      24.       The New York Times story also published a statement from O’Reilly, in

which O’Reilly stated he was “vulnerable to lawsuits from individuals who want

[O’Reilly] to pay them to avoid negative publicity.”


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                              O’Reilly’s Public Statements

      25.    O’Reilly has made numerous public statements since his firing—including

but not limited to the statements given to The New York Times in regards to the sexual

harassment settlements—and since The New York Times published the April 1 Article

about the settlements.

      26.    In a statement issued by O’Reilly on April 19, 2017, O’Reilly stated in

regards to his firing, “[i]t is tremendously disheartening that we part ways due to

completely unfounded claims,” in regards to the claims in the April 1 Article.

      27.    On April 24, 2017, on O’Reilly’s No Spin News, O’Reilly stated that he is

“very confident the truth will come out, and when it does, I don’t know if you’re going

to be surprised—but I think you’re going to be shaken, as I am. There’s a lot of stuff

involved here.”

      28.    At a live event in Westbury, New York on June 17, 2017, O’Reilly stated

that “there will be a bunch of news stories that will explain what happened and why it

happened” to him, and strongly implying that the allegations against him were untrue,

asserted that “[i]t has to do with far-left progressive organizations that are bent on

destroying anybody with whom they disagree.”

      29.    In a published interview with The Hollywood Reporter on September 13,

2017, O’Reilly stated that Trump “understands that no one was mistreated on my

watch, because that’s the truth.”

      30.    O’Reilly continued to characterize the allegations made by Dhue and

others as false into the fall. On September 19, 2017, on the Today Show with Matt Lauer,


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Lauer asked O’Reilly about the claims in the April 1 Article, which included Dhue.

O’Reilly claimed that the sexual harassment allegations were false, characterizing them

as a “hit-job” motivated by politics and finance. He asserted that his “conscience is

clear” and he did nothing wrong despite the allegations but was aware of the five

women in the April 1 Article, and that O’Reilly “will be able to prove” what he says and

“there are more things to come.”

       31.    In the same interview with Matt Lauer where Lauer asked O’Reilly about

the five women in the April 1 Article—which included Plaintiff Dhue—O’Reilly

undermined Dhue’s reputation for truthfulness by claiming he has “never mistreated

anyone on [his] watch in 42 years.”

       32.    Also on the Today Show, O’Reilly made statements that he could win the

lawsuits if they were brought and not settled. O’Reilly claimed he chose not to counter

sue because of “the collateral damage of these lawsuits, the press frenzy. Every

allegation is a conviction.”

       33.    The smear campaign continued on October 23, 2017. O’Reilly made public

statements on Glenn Beck’s radio program regarding the April 1 Article—which

O’Reilly also posted on his website—stating “I’m not going to run and hide because I

didn’t do anything wrong” and saying the April 1 Article quoted figures that were

“wildly wrong.”

       34.    On Beck’s program—and also posted on O’Reilly’s website—O’Reilly also

stated, “[i]t’s very frustrating for me being accused of everything under the sun and




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being linked with Harvey Weinstein. This is dishonest in the extreme and it’s

frustrating . . . .”

        35.     On Beck’s program, O’Reilly went further, stating, “I have been in the

broadcast business for 43 years with 12 different companies, and not one time was there

any complaint filed against me. Nothing, zero!”


                               Dhue’s Lack of Statements

        36.     Dhue has made no public statements whatsoever in regards to April 1

Article.

        37.     Nor has Dhue made any statements in response to any of the numerous

false allegations made against her by O’Reilly.

        38.     Dhue has not given any interviews, despite reporters attempting to

contact her by phone, email, text message, and even showing up at her family members’

homes.

        39.     Dhue has not even gone so far as stating whether there was or was not a

settlement.

        40.     Dhue’s lack of presence in the media—while O’Reilly has run rampant

with his accusations— has damaged her reputation.

                           Dhue’s Standing in the Community

        41.     Dhue was previously a highly respected news anchor who worked on Fox

News, CNN, and MSNBC.




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       42.     In 2011, the Daily Mail stated that Dhue “has always been the epitome of

elegance and professionalism.”

       43.     Following her time as a news anchor, Dhue became an advocate for

alcohol and substance abuse recovery, speaking at both the Obama and Trump White

Houses on multiple occasions on the subject of alcohol and substance abuse recovery.

       44.     Prior to any reports of alleged sexual harassment or O’Reilly’s comments

regarding the same, many people had questioned Dhue’s absence from television.

       45.     In 2014, Forbes published an article titled “Where Have You Gone, Laurie

Dhue? (‘I’m Still Here, But Clean And Sober’).”

       46.     Even reviewing the YouTube comments on Dhue’s 2011 appearance on

Geraldo at Large—where Dhue was a guest and discussed her recovery from

alcoholism—demonstrates Dhue’s standing in the community: “it would be nice to see

Laurie Due [sic] back . . . ,” “Bring Laurie back . . . ,” “She was & still is a class act . . . .”


                             Fallout from O’Reilly’s Statements


       47.     Following the comments O’Reilly made about Dhue, two of Dhue’s

mentors informed Dhue that the statements made by O’Reilly may prevent Dhue from

even getting an interview at many companies.

       48.     Dhue was indirectly mentioned on John Oliver’s Last Week Tonight, and

there was even a satire of the alleged settlement between Dhue and O’Reilly on NBC’s

Saturday Night Live in April, with Alec Baldwin portraying O’Reilly.




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       49.      Furthermore, Dhue’s likeness has been used in conjunction with O’Reilly’s

in online advertisements for male enhancement pills, without Dhue’s permission.

       50.      The statements made by O’Reilly are directly associated with both of

Dhue’s chosen professions: journalism and as an advocate for recovery.

       51.      Journalists and advocates both need others to believe they are telling the

truth to be successful.

       52.      Labeling a journalist or advocate as a liar—especially in an area where

they are not reporting or advocating—damages her career.

       53.      All of the statements made by O’Reilly were made with malice as O’Reilly

was aware that all such statements were false.

       54.      All of the statements made by O’Reilly were made with malice as the

intent of making such statements was to destroy Dhue’s reputation—along with the

other women’s reputations he defamed—in order to bolster his own reputation, the

only way O’Reilly could attempt to salvage his reputation.

                               FIRST CAUSE OF ACTION
                                  (Defamation Per Se)

       55.      Plaintiff repeats and realleges the allegations made above as if fully set

forth herein.

       56.      O’Reilly has falsely made public statements regarding the allegations of

sexual harassment against him.




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       57.     O’Reilly has made these statements on live television, at public events,

and in statements to the press that were intended to be—and have been—widely

disseminated.

       58.     O’Reilly is—and has always been—aware that his statements are false and

has made the statements in an effort to bolster his public reputation at the expense of

Plaintiff’s public reputation.

       59.     O’Reilly has made all statements regarding Dhue with malicious intent,

both in that he has knowingly made false statements and has done so with the intent to

harm Dhue’s reputation. And thus support his own reputation.

       60.     O’Reilly’s comments tend to injure Dhue in her business and profession as

no employers will hire her if they believe that Dhue has previously made false

allegations of sexual harassment in the workplace.

       61.     O’Reilly’s comments also accuse Dhue of the serious crime of extortion in

that O’Reilly has made statements that equate all claims made against him and

settlement negotiations to a “hit -ob” directed at obtaining political and financial

advantage and that the claims were “completely unfounded.”

       62.     O’Reilly’s intent is to elevate his reputation through tarnishing Dhue’s

reputation. O’Reilly believes that if the world considers Dhue an extortionist, it will not

believe that O’Reilly committed the alleged acts.

                                 PRAYER FOR RELIEF

               WHEREFORE, by reason of the foregoing, Plaintiff respectfully requests

that the Court enter judgment in Plaintiff’s favor and against Defendant, awarding:


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     A.     Compensatory damages in an amount to be determined at trial;

     B.     Reputational damages in an amount to be determined at trial;

     C.     Applicable interest on the foregoing amount;

     D.     Punitive damages in amount to be determined at trial; and

     E.     Such other and further relief the Court deems just and proper.

                            DEMAND FOR JURY TRIAL

     Plaintiff respectfully demands a trial by jury for all issues so triable in this action.


Dated: New York, New York
       March 22, 2018

                                      By:__________________________
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